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United States District Court

SOUTHERN DISTRICT ()F INDIANA

UNITED STATES OF AMERICA

V CRIMINAL COMPLAINT

AHMED ALAKLOUK CASE NUMBER: l:lS-mj -0214

I, the undersigned complainant being duly sworn state the following is true and correct to the best of my
knowledge and belief.

On or about January 27, 2018 in Marion County, in the Southern District of lndiana, defendant, AHMED
ALAKLOUK, then being an alien, did unlawfully possess in and affecting commerce, any firearm, including: an
Archangel Model 5.97 .22 caliber rifle (Serial #C2683277) and a SCCY Model CPX-Z 9mm handgun (Serial #
231773), in violation of Title 18 U.S.C. § 922(g)(5).

l lfurther state that l am a special agent, and that this complaint is based on the following facts:

See attached Affidavit

Continued on the attached sheet and made a part hereof.

\%w/

Special Agent Matthew L. Hall
U.S. Department of Homeland Security
Homeland Security Investigations

Sworn to before me, and subscribed in my presence

 

March 7, 2018 at lndianapolis, lndi'ana'
Date . '

 
  
 

  

Mark J . Dinsmore, U.S. Magistrate Judge' %/ jj

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Name and Title of Judicial Officer Signz\tu7[oil juih;’i Officer

 

 

 

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Your Affiant, Agent Matthew L. Hall, being duly sworn, declare and state:

l. I am a Special Agent with the U.S. Department of Homeland Security (“DHS”),
Homeland Security lnvestigations (“HSI”), and have been so employed since March of 2009. l
am currently assigned as a Task Force Officer (“TFO”) to the FBI’s Joint Terrorism Task Force
(“JTTF”). Prior to being hired by HSI, l was employed as a police officer and detective with the
Indianapolis Metropolitan Police Department (“IMPD”) from October 1996 to March 2009.

2. l am an “investigative or law enforcement officer” of the United States within the
meaning of Section 2510(7) of Title 18, United States Code, and in connection with my official
duties as a Special Agent of HSI, l am responsible for conducting investigations into violations
of the United States Code and other federal criminal statutes l have specialized experience
investigating immigration, financial crimes, fraud, narcotics trafficking, and firearms offenses as
both “stand-alone” matters and in conjunction with national security investigations l am
specifically empowered under the laws of the United States to investigate violations of Federal
firearms laws pertaining to the Gun Control Act of 1968, including violations of Title 18, United
States Code, Section 922, possession of a firearm by a prohibited persons. My training and
experience has involved, among other things: conducting surveillance, serving search and arrest
warrants, interviewing witnesses, debriefing defendants, as well as identifying, gathering, and
analyzing evidence.

3. In connection with my assignment to the JTTF I have received specialized
training from the HSI Counter-Terrorism Section and the FBl/JTTF for national security and

counter-terrorism related investigations Based on my training and experience as an HSI agent

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and a JTTF TFO l have become familiar with counter-terrorism investigations and the manner in
which subjects radicalize themselves and others

4. Based on my training and experience, I know that, with few exceptions, Title 18,
United States Code, Section 922(g)(5) makes it unlawful for persons admitted to the United
States on non-immigrant visas from possessing firearms or ammunition For purposes of Title
18, United States Code, Section 922(g), a firearm is described as any weapon which will or is
designed to expel a projectile by action of an explosive. See 18 U.S.C. § 92l(a)(3).

5. l am conducting an investigation into allegations that Ahmed ALAKLOUK has
violated several provisions of the U.S. Code, including Title 18, United States Code, Section
922(g)(5)(alien in possession of firearm or ammunition). Specifically, my investigation has
determined that on or about January 27, 2018, ALAKLOUK was unlawfully or illegally present
in the United States and was in possession of two firearms and ammunition

6. The statements in this affidavit are based on my investigation of this matter, as
well as on the observations of other law enforcement agents and officers working with me, and
other witnesses who were interviewed in connection with this investigation

7. Because this affidavit is being submitted for the limited purpose of securing a
criminal complaint and arrest warrant, l have not included each and every fact known to me
concerning this investigation l have set forth only the facts that I believe are necessary to
establish probable cause to believe that Ahmed ALAKLOUK has committed violations of
federal law, to include violations of Title l8, United States Code, Section 922(g)(5).

PROBABLE CAUSE
8. On January 20, 2018, at 3200 a.m., a security officer at the Hyatt Regency in

downtown lndianapolis received a call from the Hyatt Regency front desk manager alerting him `

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to the reported presence of firearms located in a vehicle at the hotel. The security officer, whose
identity is known to your Affiant, responded to the vehicle and observed firearms on the front
seat and back seat of the vehicle.

l 9. The vehicle Was a black Chevrolet Avalanche. Hyatt Regency records revealed
the vehicle belonged to a registered guest at the hotel named Ahmed ALAKLOUK.

10. Hyatt Regency Management instructed the security officer to contact
IMPD. When IMPD officers arrived at the hotel they spoke with two Hyatt employees, who
stated there was a Black Chevrolet Avalanche parked in valet parking that had handguns in the
back seat and an AR-lS-style rifle in the front seat. Officers went to the vehicle and observed an
AR-l$ sitting in between the front passenger seat and the middle console.

ll. Officers then ran the Avalanche's Indiana plate, TK855NFH, through IMPD
control and the plate came back registered to Ahmed Fakhri ALAKLOUK. While the license
plate was registered to ALAKLOUK, IMPD officers noted that the BMV database indicated the
license plate was supposed to be on a different vehicle.

12. IMPD officers ran ALAKLOUK for a gun permit and ALAKLOUK did not have
a gun permit. ALAKLOUK also had an expired Indiana driver's license. While officers were
investigating, ALAKLOUK exited the valet area and approached the IMPD officers IMPD
officers asked ALAKLOUK if the Chevrolet Avalanche was his and he stated yes IMPD
officers advised ALAKLOUK not to leave firearms in the open due to the amount of vehicle
break ins that occur in the downtown lndianapolis area.

13. ALAKLOUK pulled the Chevrolet Avalanche keys from his pocket and unlocked
the vehicle. ALAKLOUK removed the AR-15 from the passenger seat and placed it in the back

seat of the Chevrolet Avalanche. When ALAKLOUK removed the firearms IMPD officers

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noticed the AR-15 rifle was equipped with a scope, bipod, and a bumpstock. IMPD officers
asked ALAKLOUK if the rifle had a bumpstock on it. ALAKLOUK said "it's fully tricked out."
ALAKLOUK claimed that the rifle belonged to his father.

14. After speaking with the IMPD officers the hotel security officer contacted
ALAKLOUK and advised him that he needed to secure the firearms either in the hotel safe or in
his vehicle, but out of plain sight. ALAKLOUK told the security officer that he would secure
the firearms out of sight in his vehicle.

15. At approximately 7:45 a.m. on January 20, 2018, Hyatt Regency management
requested hotel security officers check to see if ALAKLOUK had secured the weapons in his
vehicle. When the security officer approached the vehicle and looked through the window, the
officer could observe what appeared to be an AR-15 rifle with a scope located between the
passenger seat and the center console of the vehicle. Upon reporting those observations to hotel
management, the security officer was instructed to contact IMPD and to remove ANAKLOUK
from the hotel premises

16. IMPD again responded to the Hyatt Regency and the security officer made
contact with ALAKLOUK and two unidentified male subjects who were present in his room.
The security officer advised ANAKLOUK that he would need to leave the hotel. ALAKLOUK
left the property at 9:45 a.m.

17. Hyatt security relayed to IMPD the concern that later the same day, on January
20, 2018, the National Women's march was being held next to the Hyatt Regency and
ALAKLOUK’s hotel room overlooked the march gathering area. As previously indicated,
ALAKLOUK was in possession of an AR-15 with a bipod, scope, and bumpstock on the rifle in

his possession

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18. Several hours after the incident at the Hyatt Regency, several IMPD detectives
located ALAKLOUK at Medo’s Tire Shop located at 3546 West 16th street Indianapolis, Indiana.
Detectives observed ALAKLOUK, and a man fitting the description of one of ALAKLOUK’s
associates from the hotel, working at the tire shop. The detectives conducted surveillance but
ALAKLOUK never left the tire shop while surveillance units were there.

19. During the course of conducting surveillance, IMPD detectives observed
ALAKLOUK’s Black Chevrolet Avalanche located at Medo’s Tire Shop. HSI Indianapolis
conducted an open source check of Medo’s Tire Shop and discovered that ALALOUK is
reportedly the owner and operator of the business Social media photos show ALAKLOUK at
the business

20. Following the incident at the hotel, HSI was contacted and began to investigate
ALAKLOUK’s immigration status and his eligibility to possess firearms under federal law.

21. As part of its investigation HSI lndianapolis identified ALAKLOUK's father as
Fakhri Hashim E. ALAKLOUK, a Saudia Arabian citizen According to information received
by your affiant, Fakhri Hashim E. ALAKLOUK left the United States almost a year ago on
February 17, 2017, and has not returned. As Fakhri Hashim E. ALAKLOUK is not a United
States citizen, nor did he have an immigration status at the time he was in the United States, he
would not be permitted to possess a firearms under federal law, despite his son’s assertion to
IMPD that the AR-15 in the Chevy avalanche belonged to his father.

22. HSI then ran ALAKLOUK through their databases and found that ALAKLOUK
is currently out of status ALAKLOUK is a native of Tunisia and citizen of Saudi Arabia who
last entered the United States on January 10, 2016, at Washington Dulles lnternational Airport as

an Fl Student. That visa status for ALAKLOUK was terminated on 09/18/2017 for “failure to

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enroll.” On September 18, _2017, ALAKLOUK was listed as a status violator violating Section
23 7(a)(1)(C)(i) of the lmmigration and Nationality Act (Act), as amended, in that after admission
as a nonimmigrant under Section 101(a)(15) of the Act, he failed to maintain or comply with the
conditions of the nonimmigrant status under which he was admitted. As noted above, on January
20, 2018, IMPD observed ALAKLOUK working at Medo Tire Shop, which he reportedly owns,
in Indianapolis, Indiana. ALAKLOUK does not have work authorization and is in violation
of Section 237(a)(1)(B) of the lmmigration and Nationality Act (Act), as amended, in that after
admission as a nonimmigrant under Section 101(a)(15) of the Act, he remained in the United
States for a time longer than permitted, in violation of the Act.

23. HSI lndianapolis filrther discovered ALAKLOUK was recently denied for the
following adjustments and/or applications on January 18, 2018:

a. Appl_ication for Travel Document 03-27-2017 - DENIAL NOTICE
SENT 01-18-2018;

b. Application for Employment Authorization 03 -27-2017 - DENIAL
NOTICE SENT 01-18-2018;

c. Appl'ication To Register Permanent Residence or Adjust Status 03 -27-
2017 - DENIAL NOTICE SENT 01-18-2018;

d. Application To Register Permanent Residence or Adjust Status 03-10-
2017 -,DENIAL NOTICE SENT 01-18-2018;

e. ' Application for Employment Authorization 03-10-2017 IFA - DENIAL
NOTICE SENT 01-18-2018;

24. l ALAKLOUK is therefore currently out of status and is subject to removal from
the United States by immigration authorities As ALAKLOUK has no legal status in the United
States, he is not permitted to possess firearms

25. On January 23, 2018, IMPD detectives interviewed Hyatt Regency employees in

reference to the incident on January 20, 2018. The Hyatt employees stated that the firearms

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located in the back seat were black semi-automatic handguns The security officers stated there
were 6 handguns observed in ALAKLOUK’s vehicle along with the AR-15 rifle. Hyatt security
officers also gave detectives ALAKLOUK's reservation information ALAKLOUK paid
$197.00 in cash for the room. Hyatt management again voiced their concern to detectives about
ALAKLOUK having so many weapons in his vehicle and his room overlooking the Women's
March that occurred on January 20, 2018.

26. Hotel management also provided detectives with surveillance video from the
Hyatt Regency which captured images of ALAKLOUK.

a. One of the security videos shows ALAKLOUK driving a black Chevrolet
Avalanche bearing Indiana license plate TK855NFH. ALAKLOUK parks in
front of the valet parking attendant’s area and exits the vehicle by himself

b. Another video shows ALAKLOUK and two other men getting in an
elevator. These same two men were also seen getting in ALAKLOUK’s vehicle
after IMPD officers spoke with ALAKLOUK about the AR-15 rifle.

27. On January `27, 2018, Indianapolis Metropolitan Police Department officers were
dispatched to ALAKLOUK’s tire shop at 3546 West 16th Street, Indianapolis, Indiana, to
investigate a disturbance involving a firearm.

28. Officers spoke with Sierra Morris who had called police to the scene. Morris said
that she had purchased a tire from Medo’s Tire Shop on January 26, 2018, and noticed it was not
holding air. She returned to the shop with her father, Byron Morris, to check the tire.
Employees checked the tire and told Byron Morris the tire was dry rotted and she would need to
purchase a new tire. Byron Morris disagreed with the employees because they had just
purchased the tire yesterday and it could not have dry rotted in one day. ALAKLOUK began

arguing with Byron Morris about the tire. ALAKLOUK grabbed Byron Morris by the neck and

forced him to the ground. Byron Morris started to get back up off the ground when

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ALAKLOUK’s employees, Jordan Wallace and Jeremy McClendon, surrounded Byron Morris
ALAKLOUK pulled a silver handgun from his clothing and WALLACE pulled a black handgun
from his waistband and pointed it at Byron Morris Sierra Morris feared for her father’s safety
and exited her vehicle with her own handgun Sierra Morris fired a gun shot in the air to get
ALAKLOUK, Wallace, and McClendon, away from her father. ALAKLOUK told Wallace and
McClendon to not let them leave. ALAKLOUK ran into the tire shop and returned with an AR-
15-style rifle. ALAKLOUK pointed the rifle at Sierra and Byron Morris ALAKLOUK told
Byron and Sierra Morris, “If you leave l’ll fucking kill you.”

29. ALAKLOUK then handed the rifle to Wallace and told him to “hold them here”.
ALAKLOUK then pointed the black pistol, at Sierra Morris who had started her car. Sierra
Morris stated ALAKLOUK kicked her Vehicle and kept stating he was going to kill her and her
father. ALAKLOUK entered his truck and pulled in behind Sierra Morris’s vehicle so they
could not leave. ALAKLOUK exited his vehicle pointing a black pistol at Byron Morris and
subsequently reached into Byron Morris’s jacket pocket and grabbed Byron Morris’s car keys
At that point, Sierra Morris called the police. ALAKLOUK continued to tell Byron and Sierra
Morris that he would kill them if they left. When the police arrived, ALAKLOUK dropped the
handgun to the ground.

30. Your Affiant, IMPD Detective Danny Wilkerson, and IMPD detective Matt
Stevenson responded to 3546 West 16th Street, Indianapolis, lndiana, and spoke with responding
officers Your Affiant andlMPD Detective Wilkerson provided ALAKLOUK with a consent to
search form and asked if he could read and understand the English language. ALAKLOUK
stated he could and granted consent to search the property at 3546 West 16th Street Indianapolis,

lndiana, and his vehicle, a black Chevrolet Avalanche. Officers located an AR-15-style,

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Archangel, .22 caliber rifle with an attached scope and bipod located just inside the rear door of
the tire shop. A silver pellet pistol that resembled a real 9mm semi-automatic handgun Was
located in the residence attached to the business Upon recovering the black pistol that
ALAKLOUK had placed on the ground when officers arrived, it was determined that the black
pistol was also a pellet gun

31. Later on January 28, 2018, your Affiant and IMPD Detective Wilkerson
interviewed ALAKLOUK at IMPD Northwest Roll Call. ALAKLOUK was advised of his
Mirana'a rights and he agreed to speak with investigators Investigators asked ALAKLOUK
about the incident that occurred earlier at the tire shop. ALAKLOUK stated he was speaking
with Byron Morris about a tire when Byron Morris became angry and pushed him.
ALAKLOUK stated he pushed Byron Morris down and Sierra Morris stepped out of the vehicle
and fired a shot. ALAKLOUK stated he went to his Chevrolet Avalanche and grabbed his BB
gun to scare Sierra Morris away. ALAKLOUK stated he moved his truck behind their car to
block them from leaving. ALAKLOUK was asked about the rifle. ALAKLOUK stated he went
into the tire shop and WALLACE gave him the rifle. ALAKLOUK stated he did hold it in his
hands but denied pointing it at Byron and Sierra Morris ALAKLOUK was asked if he pointed
the BB gun at Byron and Sierra Morris and he said no. ALAKLOUK said he told Byron and
Sierra Morris, “If you shoot me I’ll shoot you dead.” ALAKLOUK dropped the weapon when
the police arrived.

32. ALAKLOUK said he had received the rifle for work done on tires on a
customer’s car. ALAKLOUK said he kept the rifle in his truck because his wife wouldn’t want

it in the house. ALAKLOUK said he took a photograph of the rifle with his cellphone and sent it

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to a friend of his at the Saudi Arabian embassy to run the serial number to see if the rifle was
involved in a homicide.

33. ALAKLOUK stated he was encountered by police at a Hyatt hotel with the rifle.
ALAKLOUK told investigators that he lied to the police officers and said it was his father gave
him the rifle from when he was in the Air Force. He said he had to lie because he was scared to
get arrested. ALAKLOUK was asked if he was in the military and he said he was in the Saudi
Arabian military but quit. He stated after he attended school he wanted to join the United States
Air Force.

34. ALAKLOUK was asked if he had any other firearms and he said no.
Investigators asked ALAKLOUK if he had any firearms at his residence near Southport Road in
Indianapolis, Indiana, and he became visibly nervous and, and said, “No.”

35. ALAKLOUK was asked about his status in the United States ALAKLOUK
stated he was a student. ALAKLOUK was advised he was illegally in the United States
ALAKLOUK was asked if had ever applied for a hunting license or a handgun permit and he
stated no.

36. Officers then informed ALAKLOUK that officers had gone to his apartment and
notified his wife that he had been arrested. ALAKLOUK was asked again if he had a firearm in
the apartment, and he replied, “I don’t have a gun registered to me at the house.” Prior to the
interview Detective Matt Stevenson had notified your Affiant that officers had recovered a pink
9mm handgun from the apartment, ALAKLOUK’s wife, Amber Alaklouk, told investigators
that ALAKLOUK brought home a pink and silver handgun in a gun box approximately two
weeks earlier. Amber stated ALAKLOUK wanted her to have it for her protection when he

wasn't around. ALAKLOUK told Amber he paid $300.00 for the gun Amber noted that the gun

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box "smelled like smoke" which made her think he bought it used and not at a gun store. The
firearm is a SCCY CPX-2 9mm Pink/Silver semiautomatic handgun

37. Your Affiant asked ALAKLOUK if there was a pink 9mm handgun at his
apartment. ALAKLOUK said yes but it’s not registered ALAKLOUK said he bought the 9mm
handgun from a white female named Chelsea online. ALAKLOUK said he paid $300.00 for the
9mm handgun approximately two weeks earlier at his business ALAKLOUK stated he was
working on Chelsea’s vehicle and saw weapons in her vehicle. ALAKLOUK asked about
purchasing a firearm from her. Chelsea told ALAKLOUK she sells firearms online.
ALAKLOUK has Chelsea’s contact information in his cellular phone. ALAKLOUK signed a
consent form allowing investigators to search his phone.

38. ALAKLOUK was arrested and charged with criminal confinement and
intimidation HSI Indianapolis placed an immigration detainer on ALAKLOUK with the Marion

County jail located in Indianapolis, Indiana.

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CONCLUSION
39. Based on the foregoing, probable cause exists to believe Ahmed ALAKLOUKv
violated Title, 18 United States Code, Section 922 (g)(5) (unlawful possession of a firearm by an
alien) for possessing an Archangel Model 5.97 .22 caliber rifle (Serial #C2683277) and a SCCY
Model CPX-2 9mm handgun (Serial # 231773).

FURTHER AFF_IANT SAYETH NOT.

 

Matthew f. H‘all,' Special Agent
Department of Homeland Security
Homeland Security Investigations

Subscribed and sworn to before me this 77%day of March, 2018.

 

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